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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 19-CR-00367
                                             )
JOHN RALLO,                                  )
                                             )
       Defendant.                            )

        NOTICE OF INTENT TO REQUEST BELOW-GUIDELINES SENTENCE

       COMES NOW Defendant, John Rallo, by and through counsel, and provides written

notice that he intends to request below the low-end of the sentencing guidelines in the above-

styled case. The basis of this request will be outlined in Defendant’s forthcoming Sentencing

Memorandum.


Dated: September 17, 2019                    Respectfully Submitted,

                                             ROGERS SEVASTIANOS & BANTE, LLP


                               By:           /S/ John P. Rogers
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 17, 2019, the foregoing was electronically filed with
the Clerk of the Court to Mr. Hal Goldsmith, assistant United States attorney.
